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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI-DADE DIVISION

 GABRIEL JOSE DE CAIRES GUERRA, an
 individual

        Plaintiff,                                                   CASE NO.:

 v.

 TRANS UNION LLC,
                                                                     DEMAND FOR JURY TRIAL
         Defendants.
                                                         /

                                           COMPLAINT

         Plaintiff, Gabirel Jose De Caires Guerra (“Plaintiff” or “Mr. De Caires Guerra”), by and

  through counsel, files this Complaint against Trans Union LLC (“Defendant Trans Union” or

  “Trans Union”); pursuant to the Fair Credit Reporting Act, 15 USC §1681 et seq. (“FCRA”) and

  the Florida Deceptive And Unfair Trade Practices Act § 501.201 et seq. (“FDUPTA”), and in

  support thereof states:

                                  JURISDICTION AND VENUE

         1.      This is an action for damages and equitable relief within the jurisdiction of this

  court pursuant to the Fair Credit Reporting Act, §1681 et seq. (“FCRA”), and Florida Deceptive

  And Unfair Trade Practices Act § 501.201 et seq. (“FDUTPA”).

         2.      Jurisdiction of this Court arises under 15 U.S.C. §1681p, 28 U.S.C. § 1331, § 1337

  and § 1367.

         3.      Venue is proper in this District pursuant to 28 U.S.C. §1391(b) as a substantial part

  of the events or omissions on which the claims are based occurred in this District.




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                                   DEMAND FOR JURY TRIAL


           4.    Mr. De Caires Guerra, respectfully, demands a trial by jury on all counts and issues

   so triable.


                                               PARTIES

           5.    Mr. De Caires Guerra is a natural person, and a citizen of the State of Florida, residing

  in Miami-Dade, Florida and is a “a “consumer” as defined by FCRA 15 U.S.C. § 1681a(c) and

  FDUTPA under Fla. Stat. § 501.203(7).

           6.    Defendant Trans Union is a Delaware limited liability company whose registered

  agent is Corporation Service Company, 1201 Hays Street, Tallahassee, Florida 32301. Trans

  Union is a CRA as defined by FCRA, 15 USC § 1681a(f). Trans Union is engaged in “trade or

  commerce” as defined by FDUTPA under Fla. Stat. § 501.203(8).

                                    GENERAL ALLEGATIONS

           7.    This action involves derogatory and inaccurate reporting of unauthorized hard

  inquiries by Trans Union.

           8.    The FCRA prohibits furnishers of credit information from falsely and inaccurately

  reporting consumers' credit information to credit reporting agencies. The FCRA is intended “to

  protect consumers from the transmission of inaccurate information about them, and to establish

  credit reporting practices that utilize accurate, relevant, and current information in a confidential

  and responsible manner.” The FCRA was enacted “to ensure fair and accurate credit reporting,

  promote efficiency in the banking system, and protect consumer privacy.”

           9.    On or about February 27, 2025, Plaintiff submitted a written dispute to Trans Union

  concerning two unauthorized “hard” credit inquiries appearing on his consumer credit report:

  WEBBANK/AVAN dated 11/02/2024; DRBANK/UPST dated 09/25/2024. A true and correct



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  copy of the dispute letter is attached as Exhibit A.

          10.     Plaintiff’s dispute was accompanied by government-issued identification and proof

  of address and was mailed directly by Plaintiff—not a third party. Plaintiff mailed the dispute letter

  via LetterStream, a reputable third-party certified mail tracking system, as his working hours do

  not allow him time to send letters via certified mail at USPS.

          11.     The dispute was delivered to Trans Union on March 4, 2025. Despite proper

  documentation and verification, Trans Union failed to conduct a lawful reinvestigation, instead

  denying the request on the false basis that it was a third-party dispute because LetterStream sent

  the mail from Arizona rather than Florida, Plaintiff’s state.

          12.     Trans Union’s third-party authentication request is a deceptive tactic engaged in by

  the CRA as a method to delay its response and reinvestigation deadline as enlisted in the FCRA.

          13.     Following Trans Union’s refusal, Plaintiff retained legal counsel. On March 19,

  2025, Plaintiff’s counsel sent a second dispute letter and power of attorney, again demanding

  deletion of the unauthorized inquiries within 15 days. This correspondence was also received by

  Trans Union.

          14.     On or about March 24, 2025, as instructed by the undersigned, Plaintiff contacted

  Trans Union via telephone to authenticate the initial dispute letters, but to no avail.

          15.     In addition, on April 4, 2025, the undersigned sent a final pre-litigation demand

  letter to Defendant’s in-house counsel, Charlotte Ann Long, however, the demands remained

  ignored by Trans Union.

          16.     To date, Trans Union has not removed the unauthorized inquiries and has provided

  no lawful justification for its inaction.

          17.     Trans Union’s reporting of these inquiries has caused harm to Plaintiff’s

  creditworthiness and created significant stress and anxiety.

          18.     Plaintiff has no relationship, past or present, with WEBBANK/AVAN or


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  DRBANK/UPST, and did not authorize any credit applications or hard inquiries from those

  entities.

          19.     Trans Union failed to conduct a reasonable investigation into the disputed

  information as required under 15 U.S.C. § 1681i.

          20.     Trans Union failed to mark Plaintiff’s credit file with a notice that the information

  was disputed, as required by 15 U.S.C. § 1681i(c).

          21.     The actions and inactions of the Defendants have caused significant harm to Mr.

  De Caires Guerra, including financial harm, damage to creditworthiness, and emotional distress.

                                     COUNT 1
                WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT

          22.     Mr. De Caires Guerra incorporates by reference paragraphs ¶¶ 1-21 of this

  Complaint.

          23.     Trans Union prepared and issued consumer credit reports concerning Mr. De Caires

  Guerra which contained unauthorized hard inquiries by entities with whom Mr. De Caires Guerra

  had no business relationship.

          24.     On or about February 27, 2025, Mr. De Caires Guerra discovered that Trans Union

  was reporting unauthorized “hard inquiries” on his consumer report, including those from

  WEBBANK/AVAN and DRBANK/UPST.

          25.     Mr. De Caires Guerra disputed these inquiries with Trans Union by certified mail,

  enclosing a copy of his government-issued ID and a utility bill to verify his identity.

          26.     Trans Union failed to conduct a lawful reinvestigation under 15 U.S.C. § 1681i(a)

  and improperly denied the dispute on the incorrect basis that it was submitted by a third party.

          27.      Mr. De Caires Guerra retained counsel, who submitted a second certified dispute

  with a power of attorney and third-party authorization.

          28.     Trans Union again failed to reinvestigate and continued to report the unauthorized


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  inquiries.

          29.    Trans Union failed to include any notice on Mr. De Caires Guerra’s credit file that

  the inquiries were disputed, in violation of 15 U.S.C. § 1681i(c).

         30.     These hard inquiries adversely impacted Mr. De Caires Guerra’s creditworthiness

  and caused harm to his credit score.

         31.     Trans Union is a “consumer reporting agency” as defined by § 1681a(f), engaged

  in assembling and reporting credit information to third parties.

         32.     Trans Union failed to establish or follow reasonable procedures to assure maximum

  possible accuracy, in violation of § 1681e(b).

         33.     Trans Union possessed evidence showing that the inquiries lacked a permissible

  purpose but continued to report them anyway.

         34.     Trans Union willfully disregarded its statutory duties under the FCRA by failing to

  investigate, failing to report the dispute, and failing to remove unverifiable information.

         35.     As a direct and proximate result, Mr. De Caires Guerra suffered actual damages

  including harm to credit, emotional distress, and attorney's fees.

         36.     Trans Union’s conduct was willful, entitling Mr. De Caires Guerra to statutory,

  actual, and punitive damages under § 1681n.

         37.     Mr. De Caires Guerra has suffered damages as a result of the incorrect reporting

  and Trans Union’s failure to correct the credit report pertaining to Mr. De Caires Guerra.

         38.     On at least one occasion within the past year, by example only and without

  limitation, Trans Union violated 15 U.S.C. § 1681e(b) by failing to establish or follow reasonable

  procedures to assure the maximum possible accuracy in the preparation of the credit reports and

  credit files published and maintained concerning Mr. De Caires Guerra.

         39.     Trans Union failed to establish or follow reasonable procedures to assure the

  maximum possible accuracy of Mr. De Caires Guerra’s credit reports and credit files when


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  investigating Mr. De Caires Guerra’s dispute of the information contained in Mr. De Caires

  Guerra’s Trans Union credit report.

         40.     Trans Union’s procedures were per se deficient by reason of these failures in

  ensuring the maximum possible accuracy of Mr. De Caires Guerra’s credit reports and credit files.

         41.     Trans Union has willfully and recklessly failed to comply with the FCRA. The

  failures of Trans Union to comply with the FCRA include, but are not limited to, the following:

  [a] the failure to follow reasonable procedures to assure the maximum possible accuracy of the

  information reported; [b] the failure to remove and/or correct the inaccurate credit information

  after a reasonable request by Mr. De Caires Guerra; [c] the failure to promptly and adequately

  investigate information which Trans Union had notice was inaccurate; [d] the continual placement

  of inaccurate information into the credit report of Mr. De Caires Guerra after being advised by Mr.

  De Caires Guerra that the information was inaccurate; and [e] the failure to note in the credit report

  that Mr. De Caires Guerra disputed the accuracy of the information.

         42.     The conduct, action and inaction of Trans Union was willful, thereby rendering

  Trans Union liable for actual, statutory, and punitive damages, in an amount to be determined by

  a judge and/or jury pursuant to 15 U.S.C. § 1681(n).

         43.     Mr. De Caires Guerra is entitled to recover reasonable costs and attorney’s fees

  from Trans Union in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681(n).

         44.     The appearance of the unauthorized hard inquiries on Mr. De Caires Guerra’s credit

  report is the direct and proximate result of Trans Union’s willful failure to maintain reasonable

  procedures to assure the maximum possible accuracy of Mr. De Caires Guerra’s credit report in

  violation of the 15 U.S.C. § 1681e(b).

         45.     As a result of the conduct, action, and inaction, of Trans Union, Mr. De Caires

  Guerra suffered damage by loss of credit, loss of ability to purchase and benefit from credit,

  emotional distress, mental and emotional pain, anguish, humiliation, and embarrassment of credit


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  denial.

            46.   WHEREFORE, Mr. De Caires Guerra, respectfully, requests this Court to enter a

  judgment against Defendant Trans Union, awarding Mr. De Caires Guerra the following relief: [1]

  actual damages pursuant to 15 U.S.C. § 1640(a)(1); [2] statutory damages pursuant to 15 U.S.C. §

  1681n(a)(1)(A); [3] statutory damages pursuant to 15 U.S.C. § 1640(a)(2); [4] after reasonable

  showing by evidence in the record or proffered by Mr. De Caires Guerra which would provide a

  reasonable basis for recovery of such, punitive damages pursuant to 15 U.S.C. § 1681n(a)(2); [5]

  costs and reasonable attorneys’ fees pursuant to 15 U.S.C. §§ 1640(a)(3) and 1681n(a)(3); and [6]

  any other relief that this Court deems proper under the circumstances.

                                   COUNT 2
             NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT

            47.   Mr. De Caires Guerra incorporates by reference paragraphs ¶¶ 1-46 above of this

  Complaint.

            48.   On at least one occasion within the past year, by example only and without

  limitation, Trans Union violated 15 U.S.C. § 1681i(a)(1)(A) by failing to conduct a reasonable

  reinvestigation with respect to the unauthorized inquiries.

            49.   On at least one occasion within the past year, by example only and without

  limitation, Trans Union violated 15 U.S.C. § 1681i(a)(4) by failing to review and consider all

  relevant information submitted by Mr. De Caires Guerra with respect to the Unauthorized

  inquiries.

            50.   On at least one occasion within the past year, by example only and without

  limitation, Trans Union violated 15 U.S.C. § 1681i(a)(5) by failing to delete the Unauthorized

  inquiries.

            51.   On at least one occasion within the past year, by example only and without

  limitation, Trans Union violated 15 U.S.C. § 1681c-2 by failing to block the Unauthorized



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  inquiries.

            52.   Trans Union has negligently failed to comply with the FCRA. The failures of Trans

  Union to comply with the FCRA include, but are not limited to, the following: [a] the failure to

  follow reasonable procedures to assure the maximum possible accuracy of the information

  reported; [b] the failure to remove and/or correct the inaccurate credit information after a

  reasonable request by Mr. De Caires Guerra; [c] the failure to promptly and adequately investigate

  information which Trans Union had notice was inaccurate; [d] the continual placement of

  inaccurate information into the credit report of Mr. De Caires Guerra after being advised by Mr.

  De Caires Guerra that the information was inaccurate; and [e] the failure to note in the credit report

  that Mr. De Caires Guerra disputed the accuracy of the information. The conduct, action, and

  inaction, of Trans Union was negligent, thereby rendering Trans Union liable for actual, statutory,

  and punitive damages, in an amount to be determined by a judge and/or jury pursuant to 15 U.S.C.

  § 1681(o).

            53.   Mr. De Caires Guerra is entitled to recover reasonable costs and attorneys’ fees

  from Trans Union in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681(o).

            54.   As a result of the conduct, action, and inaction of Trans Union, Mr. De Caires

  Guerra suffered damage by loss of credit, loss of ability to purchase and benefit from credit,

  emotional distress, mental and emotional pain, anguish, humiliation, and embarrassment of credit

  denial.

            55.   WHEREFORE, Mr. De Caires Guerra, respectfully, requests this Court to enter a

  judgment against Defendant Trans Union, awarding Mr. De Caires Guerra the following relief: [1]

  actual damages pursuant to 15 U.S.C. § 1681o(a)(1); [2] costs and reasonable attorneys’ fees

  pursuant to 15 U.S.C. § 1681o(a)(2); and [3] any other relief that this Court deems appropriate

  under the circumstances.

                                               COUNT 3


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                   VIOLATION OF THE FLORIDA DECEPTIVE AND
           UNFAIR TRADE PRACTICES ACT (FDUTPA) Fla. Stat, § 501.201 et seq.

          56.     Mr. De Caires Guerra incorporates by reference paragraphs ¶¶ 1-30 and 110-134

  above of this Complaint.

          57.     This is an action founded on the CRAs violation of the Florida Deceptive and

  Unfair Trade Practices Act, §§ 501.201 et seq. (“FDUPTA”).

          58.     The conduct alleged in this Complaint against Trans Union constitute

  unconscionable acts or practices, or unfair or deceptive acts and/or unfair practices in the conduct

  of any trade or commerce.

          59.     The CRAs have committed unlawful acts and practices, defined in Fla. Stat. §

  501.204 as “(1) unfair methods of competition, unconscionable acts or practices, and unfair or

  deceptive acts or practices in the conduct of any trade or commerce” that extend beyond their

  obligations under the FCRA, by (i) knowingly, intentionally, and continuously misrepresenting

  the unauthorized inquiries as Mr. De Caires Guerra’s debt although it possessed evidence and

  actual notice that the underlying account was, in fact, fraudulent as confirmed by Barclays and;

  (ii) deceptively portraying their credit reporting systems as reliable and compliant with industry

  standards while failing to take the necessary corrective action after receiving appropriate consumer

  initiated disputes.

          60.     Trans Union continued to engage in deceptive and unfair trade practices by denying

  a valid consumer dispute based on a false “third-party submission” pretext simply because a

  certified mail label is created in another state than the consumer’s resident state.

          61.     Trans Union misrepresented its dispute process and failed to accurately reflect the

  dispute on the consumer report, misleading third parties and harming Mr. De Caires Guerra, even

  after being contacted by Mr. De Caires Guerra to authenticate the dispute.

          62.     These practices offend public policy, are unethical and oppressive, and caused



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   Plaintiff, and others similarly situated, to sustain actual damages including credit harm and

   distress.

           63.    Trans Union’s acts constitute unfair and deceptive acts in trade or commerce under

   Fla. Stat. § 501.204(1).

           64.    Mr. De Caires Guerra suffered actual damages as a result of the conduct of the

   CRAs as alleged in further detail above.

           65.    It has been necessary for Mr. De Caires Guerra to retain the undersigned to

   represent him in this action.

           66.    Mr. De Caires Guerra will incur costs and other related expenses to bring this action

   and is entitled to recover his attorney’s fees and costs pursuant to §501.2105 (Fla. Stat.).

           67.    WHEREFORE, Mr. De Caires Guerra, respectfully, requests this Court to enter a

   judgment against Trans Union, awarding Mr. De Caires Guerra the following relief: [1] actual

   damages suffered by Plaintiff as a result of Defendants' unfair and deceptive trade practices,

   pursuant to Fla. Stat. § 501.211(2);); [2] attorney’s fees and costs pursuant to Fla. Stat. § 501.2105;

   and [3] any other relief that this Court deems appropriate under the circumstances.



   Dated: April 11, 2025




   Respectfully Submitted,


   CONSUMER RIGHTS LAW, PLLC


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   /s/ Monique N. Reyes
   Monique N. Reyes
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   Gabriel Jose De Caires Guerra
   3550 NW 83RD AV 206
   DORAL, FL 33122

   February 20, 2025

   VIA CERTIFIED MAIL

   TransUnion Consumer Solutions
   P.O. Box 2000
   Chester, PA 19016-2000

   Subject: Formal Dispute of Unauthorized Inquiries, Incorrect Personal Information, and
   Inconsistent Account Reporting

   Hello,

   I am writing to formally dispute several inaccuracies on my credit report (
   pursuant to my rights under the Fair Credit Reporting Act (FCRA), 15 U.S.C. § 1681i. I have
   attached a copy of my ID and credit report. The following errors require immediate
   investigation and correction.

   1. Unauthorized Hard Inquiries (FCRA § 1681b(a))

   The following hard inquiries appear on my credit report without my authorization. As you are
   required to verify that an inquiry was made with a permissible purpose, I demand their
   immediate removal if proper documentation cannot be provided:




             Creditor Name   Date of Inquiry    Credit Bureau
      NOWCOM/WESTERN FUNDING 01/21/2025      Experian
      ONEMAIN                12/17/2024      Experian
      PATHWARD NA/OPORTUN    12/12/2024      Experian
      WEBBANK/AVAN           11/02/2024      TransUnion
      DRBANK/UPST            09/25/2024      TransUnion & Equifax
      CCB/TOYOTA             05/31/2024      Equifax
      SE TOYOTA FINANCE      05/31/2024      Experian
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   I demand that these inquiries be deleted immediately unless you can provide proof that I
   authorized them in writing.

   2. Incorrect Personal Information (FCRA § 1681i(a))

   My credit report contains incorrect personal information that does not belong to me. Please
   remove or correct my name to only reflect my legal name Gabriel Jose De Caires Guerra.

   3. Inconsistent and Inaccurate Account Reporting (FCRA § 1681e(b))

   The following accounts contain incorrect balances, inconsistent high credit limits, or
   reporting errors across different bureaus. I demand that these be investigated and corrected:

                                                                    Credit Bureaus
     Creditor Name                              Issue
                                                                       Affected
                                                                 TransUnion, Experian,
   CITI Bank    High Credit Mismatch
                                                                 Equifax
                                                                 TransUnion, Experian,
   CCB/IKEA     Credit Limit & Open Date Discrepancy
                                                                 Equifax
                                                                 TransUnion, Experian,
   CBNA         Conflicting Payment History
                                                                 Equifax
                Missing from Experian but Reported by            Experian, TransUnion,
   CB INDIGO
                TransUnion & Equifax                             Equifax
                                                                 TransUnion, Experian,
   SYNCB/BRMART Balance Discrepancy, High Credit Mismatch
                                                                 Equifax
                Missing from TransUnion & Experian but Reported TransUnion, Experian,
   CAP1/WMT
                by Equifax                                       Equifax
                                                                 TransUnion, Experian,
   SYNCB/TJX    Balance Discrepancy Across Credit Bureaus
                                                                 Equifax
                Balance Discrepancy, High Credit Limit, and Date TransUnion, Experian,
   SYNCB/AMAZON
                of Last Payment Discrepancy                      Equifax
                Account is Closed but Incorrectly Reported as    TransUnion, Experian,
   CELTIC
                Open                                             Equifax

   Under FCRA § 1681e(b), credit reporting agencies must ensure that all information reported is
   accurate and verifiable. If the furnisher of these accounts cannot verify the correct information,
   they must be deleted from my report.




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      1. Immediately delete the unauthorized hard inquiries listed above unless you can
          provide legally required documentation showing I authorized them.
      2. Correct my personal information by updating my name, address, and employer details
          as listed.
      3. Investigate and correct any discrepancies in the accounts listed above to ensure
          accurate reporting.
      4. Ensure that CB INDIGO is either properly reported by all bureaus or removed
          entirely if inaccurate.
      5. Ensure that SYNCB/BRMART reflects a consistent and accurate balance across all
          credit bureaus.
      6. Ensure that CAP1/WMT is consistently reported by all bureaus or removed if
          inaccurate.
      7. Ensure that SYNCB/TJX reflects a consistent and accurate balance across all credit
          bureaus.
      8. Ensure that SYNCB/AMAZON reflects a consistent and accurate balance across all
          credit bureaus.
      9. Ensure that CELTIC is correctly reported as closed across all credit bureaus.
      10. Provide me with a corrected copy of my credit report after making these updates.
      11. Provide a written response within 30 days as required by the FCRA in analyzing my
          credit report, preparing this dispute, and sending this demand letter under FCRA §§
          1681n and 1681o.

   Failure to comply with these requests may result in legal action under FCRA § 1681n and §
   1681o, which allow for actual damages, statutory damages, and attorneys’ fees for willful and
   negligent noncompliance.

   Please send all correspondence regarding this dispute to the address listed above.

   Sincerely,



   Gabriel Jose De Caires Guerra
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